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                  UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY


IN RE: VALSARTAN, LOSARTAN,                MDL No. 2875
AND IRBESARTAN PRODUCTS
LIABILITY LITIGATION                       Honorable Robert B. Kugler,
                                           District Court Judge

                                           Oral Argument Requested
This Document Relates to All Actions



      DEFENDANTS TORRENT PHARMACEUTICALS LTD. AND
      TORRENT PHARMA, INC.’S MEMORANDUM OF LAW IN
         SUPPORT OF MOTION FOR PARTIAL SUMMARY
                       JUDGMENT




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      Defendants Torrent Pharmaceuticals Ltd. and Torrent Pharma, Inc.

(collectively, “Torrent”) respectfully submit this Memorandum of Law in Support

of their Motion for Partial Summary Judgment.

                                INTRODUCTION
      In addition to the myriad reasons why Defendants are entitled to summary

judgment laid out in the TPP Trial Defendants’ Omnibus Motion for Summary

Judgement, (the “Omnibus Motion”), 1 filed contemporaneously with this motion

and incorporated herein by reference, Torrent is separately entitled to summary

judgment on three issues.2

      First, Torrent is entitled to summary judgement on Plaintiffs’ fraud claims.

These claims require Plaintiffs to show that Torrent had scienter, i.e., that, at a

minimum, Torrent had actual knowledge of an alleged falsity and, for States with a

stricter standard, that it also acted with an intent to deceive. But Plaintiffs have


1
      Capitalized terms have the same meaning here as in the Omnibus Motion
and the accompanying Statement of Undisputed Material Facts and exhibits.
2
        This Motion concerns certain of the claims designated in the Court’s Case
Management Order No. 32 (the “TPP Trial Claims”); specifically, the claims of
Plaintiff MSP Recovery Claims, Series LLC (“MSPRC”), as class representative of
TPP Breach of Warranty Subclass Group B, TPP Breach of Implied Warranty
Subclass Group D, TPP Fraud Subclass Group A, and TPP State Consumer
Protection Laws Subclass Group A (collectively, the “TPP Classes”). ECF No.
2343 at 1-2. Accordingly, this motion is limited to the TPP Trial Claims, and is
presented without waiver of any arguments for summary judgment with respect to
any other claims asserted by any Plaintiff as to any Defendants in this multi-district
litigation.

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introduced no evidence that Torrent had any knowledge of the possibility for

NDMA or NDEA formation in the valsartan active pharmaceutical ingredient

(“API”) it purchased from Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”) until

ZHP told Torrent about the issue on August 3, 2018, let alone that Torrent

somehow acted with an intent to deceive. Because there is no dispute of material

fact as to Torrent’s lack of scienter, Plaintiffs’ fraud claims against Torrent fail as a

matter of law.

      Second, Torrent is entitled to summary judgement on Plaintiffs’ claims

seeking punitive damages.       States that allow punitive damages for breach of

warranty, fraud, or consumer protection claims require Plaintiffs to meet an

exacting state-of-mind or culpability standard. Because Plaintiffs cannot show that

Torrent acted with the requisite level of knowledge or intent to deceive, Plaintiffs

likewise cannot prove that they are entitled to punitive damages, and Torrent is

entitled to summary judgment as to any claims for punitive damages.

      Third, Torrent is entitled to summary judgment as to each of Plaintiffs’

claims premised on the allegation that Torrent’s valsartan-containing drugs

(“VCDs”) were “adulterated” within the meaning of the Federal Food, Drug, and

Cosmetic Act of 1938 (“FDCA”). Whether a drug is “adulterated” within the

meaning of the FDCA is a determination that only the United States Food and

Drug Administration (“FDA”) can make. However, the FDA has never found


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Torrent’s VCDs to be adulterated, and Plaintiffs have not introduced any evidence

to the contrary. As a result, Torrent is entitled to summary judgment on any claims

alleging that Torrent’s VCDs were adulterated.

                                BACKGROUND
      The facts relevant to this motion are set forth in detail in Defendants’

Omnibus Motion and the accompanying Statement of Undisputed Material Facts

(“SUMF”), which are incorporated herein.

                              LEGAL STANDARD

      Torrent incorporates by reference the Legal Standard outlined in the

Omnibus Motion. See Omnibus Motion at 7.

                                  ARGUMENT
I.    PLAINTIFFS’ FRAUD CLAIMS FAIL BECAUSE THERE IS NO
      EVIDENCE THAT TORRENT ACTED WITH SCIENTER.
      As the Court has recognized, to prove a fraud claim for TPP Fraud Subclass

Group C, Plaintiffs must prove, at a minimum, that Torrent had “knowledge of

falsity” of any alleged false statements. ECF No. 2261 at 32.3 Additionally,


3
      See also Kirst v. Ottosen Propeller & Accessories Inc., No. 3:16-CV-00188-
TMB, 2018 WL 9943555 at *7 n.76 (D. Alaska June 20, 2018) (Alaska); Star City
Sch. Dist. v. ACI Bldg. Sys., LLC, 844 F.3d 1011, 1016 (8th Cir. 2017) (Arkansas);
Greenway Nutrients, Inc. v. Blackburn, 33 F. Supp. 3d 1224, 1256 (D. Colo. 2014)
(Colorado); Equitas Disability Advocs., LLC v. Bryant, 134 F. Supp. 3d 209, 218
(D.D.C. 2015) (District of Columbia); Myers v. Provident Life & Accident Ins. Co.,
472 F. Supp. 3d 1149, 1178 (M.D. Fla. 2020) (Florida); In re Parkinson Seed
Farm, Inc., 640 B.R. 218, 257 (Bankr. D. Idaho 2022) (Idaho); First Dakota Nat’l
Bank v. Ruba, 412 F. Supp. 3d 1153, 1160 (D.S.D. 2019) (Iowa); Xiao Wei Yang
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certain jurisdictions in TPP Fraud Subclass Group c (Iowa, Louisiana, North

Carolina, South Dakota, Virginia, and D.C.) require even greater culpability—

specifically, an intent to deceive beyond mere knowledge.4           Plaintiffs cannot

survive summary judgment under any version of the scienter requirement because


Catering Linkage in Inner Mongolia Co. Ltd v. Inner Mongolia Xiao Wei Yang
USA, Inc., 340 F. Supp. 3d 70, 83 (D. Mass. 2018) (Massachusetts); Clements Auto
Co. v. Serv. Bureau Corp., 444 F.2d 169, 175 (8th Cir. 1971) (Minnesota); Perry v.
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Welspun Litig., No. 16 CV 6792 (VB), 2019 WL 2174089 at *15 (S.D.N.Y. May
20, 2019) (New York); Great Am. Emu Co., LLC v. E.J. McKernan Co., 509 F.
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10, 2021) (Vermont); King Cnty. v. Viracon, Inc., No. 2:19-CV-508-BJR, 2021
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denied, No. 2:19-CV-508-BJR, 2022 WL 782572 (W.D. Wash. Mar. 15, 2022),
and reconsideration denied, No. 2:19-CV-508-BJR, 2022 WL 838508 (W.D.
Wash. Mar. 21, 2022) (Washington).
4
       See Kitt v. Cap. Concerts, Inc., 742 A.2d 856, 860 (D.C. 1999) (“The
essential elements of common law fraud” include “the intent to deceive”) (D.C.
law); Seibert v. Noble, 499 N.W.2d 3, 7 (Iowa 1993) (“Among the elements of
fraud is an intent to deceive, which the other party relies upon with resulting
damages to the relying party.”) (Iowa law); Chateau Homes by RJM, Inc. v.
Aucoin, 97 So. 3d 398, 404 (La. App. 5 Cir, 2012), writ denied, 98 So. 3d 872 (La.
2012) (“For purposes of the tort of fraud, the intent to deceive is a specific intent.”)
(Louisiana law); Forbis v. Neal, 361 N.C. 519, 526–27 (2007) (actual fraud
requires an “intent to deceive”) (North Carolina law); Est. of Johnson ex rel.
Johnson v. Weber, 898 N.W.2d 718, 729 (S.D. 2017) (fraud requires proof the
defendant “made the representation with intent to deceive”) (South Dakota);
Owens v. DRS Auto. Fantomworks, Inc., 288 Va. 489, 497 (2014) (common law
fraud requires “intent to mislead”) (Virginia law).

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they have presented no evidence of any knowledge on Torrent’s part of the

potential for NDMA or NDEA contamination, let alone an intent to deceive. See

In re TMJ Implants Prod. Liab. Litig., 880 F. Supp. 1311, 1317 (D. Minn. 1995),

aff’d sub nom. In re Temporomandibular Joint (TMJ) Implants Prod. Liab. Litig.,

113 F.3d 1484 (8th Cir. 1997) (granting summary judgment on fraudulent

misrepresentation and omission claims regarding safety of silicone breast implants

because plaintiff offered no evidence of defendant’s knowledge of the danger).

      On the contrary, the evidence reflects that Torrent was unaware of the

NDMA or NDEA in the valsartan API it purchased from ZHP or the potential for

NDMA or NDEA formation until ZHP notified Torrent on August 3, 2018. SUMF

¶ 45. Moreover, prior to that notification, Torrent conducted regular testing of

ZHP’s API and audited ZHP’s facilities at appropriate intervals, and neither

revealed anything to suggest the presence of NDMA or NDEA in the API. SUMF

¶¶ 31, 45.

      The evidence also reflects that prior to July 2018, there was no FDA

standard, testing methodology, or other regulatory or industry standard or

requirements pertaining to limits of NDMA or NDEA in VCDs that would have

alerted Torrent to the potential for the formation of NDMA or NDEA in valsartan

API before ZHP’s notification. SUMF ¶ 73. Moreover, in the years leading up to

the recall, Torrent’s facilities consistently passed FDA inspections, complied with


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cGMPs, and conducted regular testing of its products to ensure the product met all

specifications. SUMF ¶¶ 25-31.

      Harris v. Pfizer Inc., another case involving nitrosamine impurities in

pharmaceutical drugs, is instructive. 586 F. Supp. 3d 231 (S.D.N.Y. 2022). There,

plaintiffs alleged “that nitrosamine had been detected in other drugs by 2018, and

that one of [the defendant’s] distributors was warned in October of 2020 that its

supply of varenicline was at risk of contamination as well.” Id. at 241. The court

held that this “at most only show[ed] that [the defendant] may have known that its

medication was at risk of contamination by late 2020,” but did not “show that [the

defendant] knew or believed that [the drug] was actually contaminated.”        Id.

(emphasis in original).

      The situation here is even more clear cut: there is no evidence whatsoever

that Torrent may have known that their valsartan API was at risk of contamination

at any point before ZHP notified Torrent of potential contamination in August

2018. 5 SUMF ¶¶ 31, 45; see also In re Fosamax Prod. Liab. Litig., 807 F. Supp.

2d 168, 188-89 (S.D.N.Y. 2011), aff’d, 509 F. App’x 69 (2d Cir. 2013), and aff’d,

707 F.3d 189 (2d Cir. 2013) (granting summary judgment where plaintiffs “fail[ed]


5
      Although Harris concerned a brand drug, and thus the false statement itself
may be different than this case, the issue of knowledge of falsity is the same as
present here: did Pfizer know that there was a risk of contamination in its drug
when it made an allegedly false statement? Harris v. Pfizer Inc., 586 F. Supp. 3d
231, 241 (S.D.N.Y. 2022).
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to allege that [the defendant] was aware of the FDA report [highlighting possible

harmful effects], or the information contained therein” at the time the drug was

prescribed).   Because Plaintiffs have provided no evidence from which a

reasonable jury could infer that Torrent acted with scienter, i.e., had “knowledge of

falsity” or an intent to deceive in addition to that knowledge, Plaintiffs’ fraud

claims fail as a matter of law. SUMF ¶ 45.

II.   PLAINTIFFS CANNOT RECOVER PUNITIVE DAMAGES FROM
      TORRENT IN THE ABSENCE OF SCIENTER.

      Without evidence that Torrent acted with scienter, Plaintiffs cannot prove

that Torrent acted with the requisite culpability to support a punitive damages

award.

      The states that allow punitive damages for breach of warranty require

Plaintiffs to show that Torrent demonstrated willful, malicious, or egregious

misconduct. See, e.g., Hughes v. Segal Enterprises, Inc., 627 F. Supp. 1231, 1238

(W.D. Ark. 1986); see also Omnibus Brief at 39-40. The states that allow punitive

damages for fraud or consumer protection claims likewise have state-of-mind or

culpability standards. See, e.g., Johnston v. Vincent, 359 So.3d 896, 919 (La.

2023); Princes Point, LLC v. AKRF Eng’g, P.C., 94 A.D.3d 588, 589 (1st Dep’t

2012); K. Ronald Bailey Assoc. Co. v. Soltesz, 2006 WL 1364019, at *3 (Ohio Ct.

App. May 19, 2006); Holeman v. Neils, 803 F. Supp. 237, 242-43 (D. Ariz. 1992);

see also Omnibus Brief at 40-43 Because Plaintiffs have no evidence of any

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knowledge or intent on Torrent’s part, Torrent is entitled to summary judgment

with respect to Plaintiffs’ claims for punitive damages.

III.   PLAINTIFFS’ CLAIMS PREMISED ON THE ALLEGATION THAT
       TORRENT’S VCDS WERE ADULTERATED CANNOT PROCEED.
       Each of Plaintiffs’ claims for breach of express and implied warranties,

fraud, and consumer protection violations are based in part on allegations that the

VCDs sold by Torrent were “adulterated.” ECF No. 1708 ¶¶ 623-24, 628-30 (First

Cause of Action), ¶ 641 (Second Cause of Action), ¶¶ 691-94 (Fifth Cause of

Action), ¶¶ 727-28, 730-32, 737 (Seventh Cause of Action). Torrent is entitled to

summary judgment as to any claims based on alleged adulteration because only the

FDA can make a determination that Torrent’s VCDs were adulterated within the

meaning of the FDCA, and the FDA has never made such a determination for

Torrent’s VCDs.

       A drug is deemed to be “adulterated” under specific circumstances outlined

in the FDCA. See 21 U.S.C.A. § 351(a), (b), (c), (d). A violation of the FDCA

requirements and a finding of adulteration can only be made by the FDA because

“[t]he FDA—and the FDA alone—has the power and the discretion to enforce the

FDCA.” Allergan, Inc. v. Athena Cosms., Inc., 738 F.3d 1350, 1359 (Fed. Cir.

2013). In the present case, the FDA has never found that Torrent’s VCDs are

adulterated.   See SUMF ¶ 101.       Plaintiffs have not—because they cannot—

presented any evidence that the FDA ever found Torrent’s VCDs to be adulterated.

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In contrast, the FDA did determine that ZHP’s valsartan API was adulterated and

made this determination public on its website. See SUMF ¶ 96.6

      Because the FDA has not determined that Torrent’s VCDs are adulterated

under the FDCA, neither the Court nor the jury can make such a determination in

this case. See Healthpoint, Ltd. v. Stratus Pharmaceuticals, Inc., 273 F. Supp. 2d

769, 787 (W.D. Tex. 2001) (declining to consider claims for injunctive relief

“based on claims or arguments that [defendant] incorrectly labeled or misbranded”

its product or “based on the argument that [defendant’s] alleged low or varying

level of [contaminant] render it adulterated” because “[c]laims of adulteration

should be resolved by the FDA”). Plaintiffs’ claims that Torrent’s VCDs were

adulterated “rel[y] on the FDCA or its implementing regulations as a critical

element,” which is the sole purview of the FDA. Agee v. Alphatec Spine, Inc., No.

1:15-CV-750, 2017 WL 5706002, at *3-5 (S.D. Ohio Mar. 27, 2017), aff’d, 711 F.

App’x 791 (6th Cir. 2018) (granting motion to dismiss misrepresentation claims

that were “clearly dependent upon the FDCA to a degree that the claims would not

exist but for the statute”) (internal citations omitted).

6
       Contrary to Plaintiffs’ suggestions throughout this case, “product recalls do
not create a presumption that FDA requirements have been violated.” Erickson v.
Bos. Sci. Corp., 846 F. Supp. 2d 1085, 1093 (C.D. Cal. 2011). Nor does the mere
issuance of a warning letter by the FDA create this presumption because “warning
letters from the FDA do not mark the consummation of the agency’s decision
making process.” Rosas v. Hi-Tech Pharms., No. CV 20-00433-DOC-DFM, 2020
WL 5361878 at *3 (C.D. Cal. July 29, 2020).

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      Because only the FDA can determine that Torrent’s VCDs are adulterated,

and the FDA has never made such a determination, Plaintiffs’ claims based on

alleged adulteration of Torrent’s VCDs fail as a matter of law.

                                 CONCLUSION
      For the foregoing reasons, Torrent respectfully requests that the Court grant

its partial summary judgment motion.




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Dated: December 22, 2023            Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I, Alexia R. Brancato, an attorney, hereby certify that on December 22, 2023,

I caused a copy of the foregoing document to be served on all counsel of record via

CM/ECF.

                                            /s/ Alexia R. Brancato
                                            Alexia R. Brancato
                                            Kirkland & Ellis LLP
